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                 IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAI`I



ARMANDO FLORES VASQUEZ,                     CR NO. 13-00443-02 DKW
                                            CV NO. 16-00117 DKW-KSC
             Petitioner,
                                            ORDER DENYING OMNIBUS
      vs.                                   MOTION FOR CONSIDERATION
                                            AND AUTHORIZATION TO
UNITED STATES OF AMERICA,
                                            AMEND, CONSOLIDATE AND
             Respondent.                    RECONSIDERATION OF FIRST
                                            AND SECOND OR SUCCESSIVE
                                            28 U.S.C § 2255 MOTIONS


     ORDER DENYING OMNIBUS MOTION FOR CONSIDERATION
        AND AUTHORIZATION TO AMEND, CONSOLIDATE
            AND RECONSIDERATION OF FIRST AND
        SECOND OR SUCCESSIVE 28 U.S.C § 2255 MOTIONS

      On March 17, 2016, the Court denied without prejudice Petitioner Armando

Flores Vasquez’s Second Section 2255 Motion because it was “second or

successive” for purposes of 28 U.S.C. § 2255(h). Vasquez had not obtained the

necessary certification from the Ninth Circuit to proceed under either Section

2255(h)(1) or (2). This denial was without prejudice to the motion being refiled if

Vasquez obtained the necessary certification. The Court also denied Vasquez’s

motion to proceed without prepayment of fees as moot and denied a certificate of

appealability.
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      On April 25, 2016, Vasquez filed a document entitled “Omnibus Motion for

Consideration and Authorization to Amend, Consolidate and Reconsideration of

First and Second or Successive 28 U.S.C § 2255 Motions,” which the Court

liberally construes as a motion for reconsideration (“Motion”) of the Court’s

March 17, 2016 Order. Reconsideration is permitted only where there is “(a)

Discovery of new material facts not previously available; (b) Intervening change in

law; [or] (c) Manifest error of law or fact.” Local Rule 60.1; see also School Dist.

No. 1J, Multnomah Cty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993)

(“Reconsideration is appropriate if the district court (1) is presented with newly

discovered evidence, (2) committed clear error or the initial decision was

manifestly unjust, or (3) if there is an intervening change in controlling law.”)

(citation omitted). A “motion for reconsideration must accomplish two goals.

First, a motion for reconsideration must demonstrate reasons why the court should

reconsider its prior decision. Second, a motion for reconsideration must set forth

facts or law of a strongly convincing nature to induce the court to reverse its prior

decision.” Donaldson v. Liberty Mut. Ins. Co., 947 F. Supp. 429, 430 (D. Haw.

1996). “Whether or not to grant reconsideration is committed to the sound

discretion of the court.” White v. Sabatino, 424 F. Supp. 2d 1271, 1274 (D. Haw.

2006) (quoting Navajo Nation v. Confederated Tribes & Bands of the Yakima

Indian Nation, 331 F.3d 1041, 1046 (9th Cir. 2003)).

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      Having reviewed the motion, the Court finds no newly discovered evidence,

no change in controlling law, and no manifest error of fact or law identified by

Vasquez. Instead, he asks the Court to re-open closed matters to allow him to

amend his First and Second 2255 Motions, to consolidate the motions, and to

reconsider the denial of those two motions, based upon a language barrier and his

lack of knowledge of the laws. The Court acknowledges that Vasquez is

proceeding pro se. However, his lack of knowledge of the procedural rules

governing Section 2255 petitions is not a sufficient basis to reconsider the Court’s

prior orders. See King v. Atiyeh, 814 F.2d 565, 567 (9th Cir. 1987) (“Pro se

litigants must follow the same rules of procedure that govern other litigants.”)

(overruled on other grounds by Lacey v. Maricopa Cnty., 693 F.3d 896 (9th Cir.

2012)). Nor is his disagreement with the Court’s prior orders of dismissal grounds

for reconsideration. See Haw. Stevedores, Inc. v. HT & T Co., 363 F. Supp. 2d

1253, 1269 (D. Haw. 2005) (“Mere disagreement with a previous order is an

insufficient basis for reconsideration. Furthermore, reconsideration may not be

based on evidence and legal arguments that could have been presented at the time

of the challenged decision.”). Because the Motion presents insufficient grounds

for reconsideration of the Court’s prior orders, the Motion is DENIED.

      To the extent that this is a “final order,” the Court addresses whether to issue

a certificate of appealability (“COA”). See R. 11(a), Rules Governing Section

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2255 Proceedings. A COA may issue “only if the applicant has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). This

standard is met only when the applicant shows that “reasonable jurists could debate

whether . . . the petition should have been resolved in a different manner or that the

issues presented were adequate to deserve encouragement to proceed further.”

Slack v. MacDaniel, 529 U.S. 473, 483-84 (2000) (citation omitted). Based on the

above analysis, the Court finds that reasonable jurists could not find the Court’s

rulings debatable. Accordingly, the Court DENIES issuance of a COA.

      IT IS SO ORDERED.

      DATED: April 28, 2016 at Honolulu, Hawai‘i.




Vasquez v. USA; CR 13-443; CV 16-117 DKW- KSC; ORDER DENYING
OMNIBUS MOTION FOR CONSIDERATION AND AUTHORIZATION TO
AMEND, CONSOLIDATE AND RECONSIDERATION OF FIRST AND
SECOND OR SUCCESSIVE 28 U.S.C § 2255 MOTIONS




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